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     LARS ROBERT ISAACSON
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     Honolulu, Hawai’i 96813
     Phone: 808-497-3811
     Fax: 866-616-2132
     Standby Attorney for Defendant ANTHONY T. WILLIAMS

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI’I


     UNITED STATES OF                      CR. NO. 17-00101 LEK
     AMERICA,
                                           “MOTION FOR EXPOSITION
            Plaintiff,                     OF SPIRITUAL WARFARE;”
                                           DECLARATION OF COUNSEL;
           v.                              EXHIBIT “A;” CERTIFICATE
                                           OF SERVICE

     ANTHONY T. WILLIAMS,

            Defendant.



         “MOTION FOR EXPOSITION OF SPIRITUAL WARFARE”

     Comes now, the Defendant Anthony T. Williams, by and through

     his standby counsel, Lars Robert Isaacson, Esq., and hereby files

     his “Motion for Exposition of Spiritual Warfare” attached as

     Exhibit “A” to this document.




                                         Exhibit 4
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        This motion was prepared by Mr. Williams and given to

     counsel for filing with this Court.

                                    Dated: April 5, 2018



                                         /s/ Lars Isaacson
                                    LARS ROBERT ISAACSON
                                    Standby Attorney for
                                    Defendant Anthony T. Williams
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                      DECLARATION OF COUNSEL

     Comes now standby defense counsel Lars Robert Isaacson, and

     hereby provides the following Declaration of Counsel concerning

     this case.

     I, LARS ISAACSON, hereby declare as follows:

       1. The facts and statements set forth in the foregoing document

          are true and correct to the best of my knowledge,

          information, and belief.

       2. On April 4, 2018, Mr. Williams gave me the document

          attached as Exhibit “A” and requested that I file same with

          the district court.

       3. It should be noted that declarant took no part in the

          preparation of this or other motions filed by Defendant and

          makes     no     representation    of   his    agreement      or

          appropriateness of said motions.

     I declare under penalty of perjury that the foregoing statements

     are true and correct, to the best of my knowledge, information,

     and belief.
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           Dated April 5, 2018

                                      Respectfully submitted,


                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
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                          CERTIFICATE OF SERVICE


     This will certify that all parties were served in this cause by

     electronic filing on April 5, 2018. A copy of the foregoing will also

     be mailed to defendant Anthony T. Williams at FDC Honolulu.


                                          /s/ Lars Isaacson
                                     LARS ROBERT ISAACSON
                                     Standby Attorney for
                                     Defendant Anthony T. Williams
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                                          U.S. District Court

                                          District of Hawaii

Notice of Electronic Filing

The following transaction was entered by Isaacson, Lars on 4/5/2018 at 3:12 PM HST and filed on
4/5/2018
Case Name:           USA v. Williams et al
Case Number:         1:17-cr-00101-LEK
Filer:               Dft No. 1 - Anthony T. Williams
Document Number: 179

Docket Text:
MOTION "Motion For Exposition Of Spiritual Warfare" by Anthony T. Williams.
(Attachments: # (1) Declaration of Counsel, # (2) Exhibit A, # (3) Certificate of Service)
(Isaacson, Lars)


1:17-cr-00101-LEK-1 Notice has been electronically mailed to:

Lars R. Isaacson   hawaii.defender@earthlink.net

Michael Jay Green michaeljgreen@hawaii.rr.com, edna@michaeljaygreen.com,
joell@michaeljaygreen.com, kelly@michaeljaygreen.com, laura@michaeljaygreen.com

Ronald G. Johnson ron.johnson@usdoj.gov, CaseView.ECF@usdoj.gov, dawn.aihara@usdoj.gov,
USAHI.ECFMajorCrimes@usdoj.gov

1:17-cr-00101-LEK-1 Notice will not be electronically mailed to:

Anthony T. Williams
05963-122
FDC HONOLULU
FEDERAL DETENTION CENTER
Inmate Mail/Parcels
P.O. BOX 30080
HONOLULU, HI 96820

The following document(s) are associated with this transaction:




mhtml:https://mycourtdocuments.usa.doj.gov/pacer/HI/ecf/Activity%20in%20Case%2011... 4/11/2018
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Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1095854936 [Date=4/5/2018] [FileNumber=2425961-0]
[a1fbc009b27950fcc6e8f87328cb3d57c9416105bc38dc689a644eb2a13c691adc90
e7c2beb40454647dec263c01295f5d89134271d69549a21f58f494678c06]]
Document description:Declaration of Counsel
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1095854936 [Date=4/5/2018] [FileNumber=2425961-1]
[355af547cbf52613b9caaf3a93b9b34c2a5e9ed37e1454e1f9261da09e6030081d87
ee85fbe79092b26f98071f6e475d3eb924a3066cc6a29a410abdf873fdf7]]
Document description:Exhibit A
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1095854936 [Date=4/5/2018] [FileNumber=2425961-2]
[386301e55fa533f568f87ef9d5ccf1e365ef43289d4b50835e51ce08cc73790371b9
5e1e0378b718ac5cbd0955b9e8ebcf16b6e4a13538dd2c5988188a8a908d]]
Document description:Certificate of Service
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1095854936 [Date=4/5/2018] [FileNumber=2425961-3]
[9d4d387245b8323d29d12763f1261a209018842489f485121c01f13bd7377404dc85
9fbc48cc6af0c807b58823fef03ae090a727ba860f59aabf3c6e43c50ecb]]




mhtml:https://mycourtdocuments.usa.doj.gov/pacer/HI/ecf/Activity%20in%20Case%2011... 4/11/2018
